Case 3:02-cv-022 Document 4 Filed 12/13/02 @. of 63 PagelD 38

 

 

 

 

 

 

 

 

aN > U.S. EISTRICT COURT “|
OR | C | N A L UNITED STATES DISTRICT COURYORTHERN DISTT EOF FEXAS
; FOR THE NORTHERN DISTRICT OF TEXA$ =o
DALLAS DIVISION oo |
a won pee 3 2 |
§ pee
ORIX CAPITAL MARKETS, LLC § - CLERKUSDES. Nie wer
8 By Lo.
Plaintiffs § Deputy} 4
§ uN
Vv. § Civil Action No.: 3-02-CV-2212-K
§
UBS WARBURG, INC., §
UBS WARBURG REAL ESTATE SECURITIES §
INC., UBS PAINEWEBBER INC., AND §
PAINEWEBBER MORTGAGE §
ACCEPTANCE CORPORATION V, §
§
Defendants. §

 

PLAINTIFF’S AMENDED COMPLAINT — CLASS ACTION
TO THE HONORABLE JUDGE OF THIS COURT:
ORIX Capital Markets, LLC brings this action against Defendants UBS Warburg, Inc.,
UBS Warburg Real Estate Securities Inc. (f/k/a Paine Webber Real Estate Securities, Inc.), UBS
PaineWebber Inc. (f/k/a PaineWebber Inc.), and PaineWebber Mortgage Acceptance
Corporation V (collectively “Defendants’) and pleads as follows:
SUMMARY OF THE ACTION
1. This case concerns Defendants’ securities fraud made in connection with the sale of
Certificates that constitute the beneficial ownership of a Trust administered by LaSalle
Bank National Association for Certificateholders of PaineWebber Mortgage Acceptance
Corporation V Commercial Mortgage Pass-Through Certificates Series 1999-C1 (the
“Trust”), which Trust holds commercial mortgage loans acquired from Defendant Paine

Webber Real Estate Securities, Inc.. The Trust is a Delaware trust evidenced by a June 1,

PLAINTIFF’S AMENDED COMPLAINT - page 1

LU
Case 3:02-cv-0221 Document 4 Filed 12/13/02 @. of 63 PagelD 39

1999 Pooling and Servicing Agreement. The holders of the Trust certificates are referred
to as Certificateholders. Plaintiff brings this case as a Certificateholder, in its
representative capacity as Special Servicer of the Trust, and also as a class action under
Federal Rule of Civil Procedure 23. Plaintiff seeks rescission of its investment in Trust
Certificates and other relief under the securities laws.

THE PARTIES

2. Plaintiff ORIX Capital Markets, LLC (“ORIX”) (f/k/a BancOne Mortgage Capital
Markets, LLC) is a Delaware limited liability company with its principal place of
business at 1717 Main Street, 9th Floor, Dallas, Texas 75201.

3. Defendants UBS Warburg Real Estate Securities Inc. (f/k/a Paine Webber Real Estate
Securities, Inc. (“Paine Webber’”)), UBS Warburg, Inc., and UBS PaineWebber Inc. (on
information and belief f/k/a PaineWebber Inc.) are Delaware corporations with their
principal place of business at 1285 Avenue of the Americas, New York, New York
10019. They may be served with process by serving their registered agent Corporation
Service Company (d/b/a CSC Lawyers Incorporating Service Co.), 800 Brazos, Austin,
Texas 78701. On information and belief, among their business lines, the Defendants,
and, at the time of the transactions detailed in this Complaint, Paine Webber and
PaineWebber Inc., originate(d) loans and securitize(d) them. On or about November 3,
2000, the ultimate parent of PaineWebber Inc. and Paine Webber merged with UBS AG.
On information and belief, through one or more subsequent transfers, some portion of the
liability of Paine Webber and PaineWebber Inc. was retained by UBS Warburg, Inc., a

subsidiary of UBS AG (“UBS Warburg’).

PLAINTIFF’S AMENDED COMPLAINT — page 2
Case 3:02-cv-022 Document 4 Filed 12/13/02 . of 63 PagelD 40

4. Defendant PaineWebber Mortgage Acceptance Corporation V_ (“PaineWebber
Mortgage”) is a Delaware corporation with its principal place of business at 1000 Harbor
Blvd., Weehawken, New Jersey 07086. PaineWebber Mortgage may be served with
process by serving its registered agent Corporation Service Company, 80 State Street,
Albany, New York 12207-2543. On information and belief, PaineWebber Mortgage,
among its current business lines (and at all times relevant to this Amended Complaint),
originates and securitizes loans.

VENUE AND JURISDICTION

5. The Court has subject matter jurisdiction of this action pursuant to 15 U.S.C. § 77v, 15
U.S.C. § 78aa, and 28 U.S.C. § 1331 because this is a civil action arising under the laws
of the United States.

6. Personal jurisdiction over the Defendants exists in this Court because Defendants do
significant business in this state, including but not limited to their activities related to the
transaction that forms the basis of this Amended Complaint.

7. Venue is appropriate in this Court under 15 U.S.C. § 77v and 15 U.S.C. § 78aa because a
substantial part of the events giving rise to the claims asserted in this Amended
Complaint occurred in Dallas County, Texas. Specifically, Plaintiff ORIX purchased
Trust Certificates in Dallas County, Texas, and has serviced the loan pool from Dallas
County, Texas.

BASIS FOR REPRESENTATIVE ACTION

8. The Pooling and Servicing Agreement provides that ORIX as Master Servicer or Special

Servicer may in its discretion undertake any such action that it may deem necessary or

desirable with respect to the enforcement and/or protection of the interests of the

PLAINTIFF’S AMENDED COMPLAINT - page 3
Case 3:02-cv-022 aD Document 4 Filed 12/13/02 ®. of 63 PagelD 41

Certificateholders under the Pooling and Servicing Agreement. See PSA § 6.03.
Similarly, Paine Webber’s Mortgage Loan Purchase Agreement acknowledges that the
representations, warranties and agreements made by Paine Webber are made for the
benefit of, and may be enforced by or on behalf of, the Trustee and the Certificateholders
to the same extent that the Purchaser has rights against Paine Webber under the Mortgage
Loan Purchase Agreement. See MLPA § 5.3.

Class Action Allegations

9. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure
23(a) and (b)(3) on behalf of a Class, which consists of all persons who purchased or
otherwise acquired Certificates during the period beginning with the initial offering and
continuing through September 3, 2002 (the “Class Period”). Excluded from the Class
are: Defendants, members of the immediate family of Defendants, individual Defendants,
former officers and directors of Defendants and any entity in which any Defendant has or
had a controlling interest, and the legal representatives, heirs, successors, or assigns of
any Defendant.

10. Plaintiff does not know the full size of the Class, but on information and belief, the
members of the Class are so numerous that joinder of all members is impracticable.
Class Members are located nationwide.

11. Plaintiffs claims are typical of the claims of the members of the Class in that the Plaintiff
and each Class Member purchased or otherwise obtained Certificates during the Class
Period pursuant to, and/or in reliance upon, a Prospectus and Prospectus Supplement
issued as part of an integrated offering and containing common misrepresentations by the

Defendants. No corrective statements have been issued by any of the Defendants.

PLAINTIFF’S AMENDED COMPLAINT - page 4
Case 3:02-cv-022 MD Document 4 Filed 12/13/02 @. of 63 PagelD 42

12. ‘Plaintiff will fairly and adequately protect the interests of the Class Members and has
retained counsel competent and experienced in class action and securities litigation.

13. Acclass action is superior to other available methods for the fair and efficient adjudication
of this controversy as joinder of all class members is impracticable. Furthermore, as the
damages suffered by individual Class Members may be relatively small, the expense and
burden of individual litigation makes it impossible for the Class Members to seek redress
individually for the wrongs done to them. There will be no difficulty in the management
of this action as a class action.

14. | Common questions of law and fact exist as to all Class Members and predominate over
any questions affecting solely individual members of the Class. Among the questions of
law and fact common to the Class are:

a. whether federal securities laws were violated by the Defendants’ acts
and/or omissions;

b. whether statements made by Defendants to the investing public during the
Class Period omitted and/or misrepresented material facts;

c. whether Defendants participated in and pursued a fraudulent scheme and
the common course of conduct complained of herein;

d. whether Defendants acted willfully or recklessly in omitting to state and/or
misrepresenting material facts;

e. whether Defendants’ statements during the Class Period were recklessly
made about the business, operations, finances, value, stock, and prospects of the
Borrowers in the Loan Pool;

f. whether the price of the Certificates during the Class Period was
artificially inflated due to non-disclosures and/or misrepresentations complained

of herein; and

g. whether Plaintiff and other Class Members were damaged and, if so, the
proper measures thereof.

PLAINTIFF’S AMENDED COMPLAINT — page 5
Case 3:02-cv-022 aD Document 4 Filed 12/13/02 @: of 63 PagelD 43

THE TRANSACTIONS
The Confidential Offering Memorandum, Prospectus, and Prospectus Supplement

15. In 1999, PaineWebber Mortgage, Paine Webber, and PaineWebber Inc. took steps to
establish the Trust. The Trust would be established through a Pooling and Servicing
Agreement, which would create a pool of loans for securitization. The loans for the pool
would be purchased by PaineWebber Mortgage under Mortgage Loan Purchase
Agreements with Paine Webber and Merrill Lynch Mortgage Capital, Inc. (“Merrill
Lynch”). The Mortgage Loan Purchase Agreement with Paine Webber makes it
abundantly clear that Paine Webber originated the loans it supplied to the loan pool for
the express purpose of securitization. Interests in the pool of loans were to be offered
simultaneously to public and private investors, all of whom would be provided with a
prospectus and prospectus supplement.

16. As part of this integrated offering, Defendants PaineWebber Inc. and PaineWebber
Mortgage, along with Merrill Lynch, Pierce, Fenner & Smith Inc. and Merrill Lynch &
Co. (Merrill Lynch, Pierce, Fenner & Smith Inc. and Mernll Lynch & Co. are
collectively called “Merrill Lynch’) prepared and, by instrumentalities of interstate
commerce, disseminated in and around June 1999, a Prospectus dated March 25, 1999
(the “Prospectus”) and a Prospectus Supplement to Prospectus dated June 1, 1999
(“Prospectus Supplement”).

17. Also in or around June 1999, as part of this integrated offering, Defendant PaineWebber
Inc. and Merrill Lynch, by instrumentalities of interstate commerce, prepared and sent to

Plaintiff ORIX and other potential purchasers a June 7, 1999 Confidential Offering

PLAINTIFF’S AMENDED COMPLAINT ~ page 6
18.

19.

20.

21.

Case 3:02-0v-022 MD Document 4 Filed 12/13/02 @, of 63 PagelD 44

Memorandum (“COM”), along with the Prospectus and Prospectus Supplement
(collectively the “Offering Documents’’).

On information and belief, Paine Webber participated in creating the Prospectus,
Prospectus Supplement, and PPM by providing to PaineWebber Inc. specific information
about the loans Paine Webber originated for the loan pool, including representations and
warranties Paine Webber would make about the quality of loans in the pool and
information about Paine Webber’s process and standards in underwriting loans for the
loan pool. Plaintiff forms this belief based upon the fact that Paine Webber originated or
purchased the loans it sold to PaineWebber Mortgage and therefore was the only source
of information about the origination process, its own underwriting standards, and the
quality of the loans that it provided to the loan pool.

Certain representations from Paine Webber included in the Prospectus and Prospectus
Supplement derived from the Mortgage Loan Purchase Agreement entered into by Paine
Webber. This agreement was incorporated in significant part into the Prospectus
Supplement, and referenced in the Prospectus.

The Offering Documents solicited ORIX and the other Class Members to purchase
Certificates, which evidenced beneficial ownership in the Trust consisting primarily of a
pool of 177 conventional, fixed-rate mortgage loans secured by 193 commercial and
multifamily properties.

Merrill Lynch, Pierce, Fenner & Smith Inc. and PaineWebber Inc. served as underwriters
for the transaction. On information and belief, on or about June 1, 1999, Merrill Lynch,
Pierce, Fenner & Smith Inc. and PaineWebber Inc. purchased Class A-1, Class A-2, Class

X, Class B, Class C, and Class D Certificates and offered them for sale “by this

PLAINTIFF’S AMENDED COMPLAINT — page 7
22.

Case 3:02-cv-020. Ma Document 4 Filed 12/13/02 @. of 63 PagelD 45

Prospectus Supplement.” Pro. Supp. S-8. Likewise, on information and belief, on June
1, 1999, Merrill Lynch, Pierce, Fenner & Smith Inc. and PaineWebber Inc. purchased
Class E, Class F, Class G, Class H, Class I, Class R, and Class LR Certificates and
offered them for sale by the COM, although the COM noted that the “Prospectus and
Prospectus Supplement contain discussions of risk factors, the characteristics of the
Mortgage Loans, the characteristics of the Certificates and tax issues, among other things,
that are relevant to an evaluation of the risks and rewards of an investment in the Offered
Private Certificates.” COM 2. The COM also advises purchasers to examine the
Prospectus and Prospectus Supplement, and that in the case of any discrepancies the
Prospectus Supplement would govern over the COM. COM 2. On information and
belief, the Certificateholders purchased the Certificates from PaineWebber Inc. and
Merrill Lynch, Pierce, Fenner & Smith Inc., paying over $616,668,000 for the Mortgage
Pass-Through Certificates, Series 1999-C1, with Plaintiff ORIX purchasing from
PaineWebber Inc. the classes of Mortgage Pass-Through Certificates, Series 1999-C1 set
forth in the Certification of Named Plaintiff attached to this Complaint. Plaintiff forms
these beliefs based on information provided in the COM, Prospectus, and Prospectus
Supplement.

PaineWebber Mortgage, PaineWebber Inc., and Paine Webber each successfully solicited
ORIX’s and others’ purchase of the Certificates, and were motivated at least in part by a
desire to serve their own financial interests. Specifically, PaineWebber Inc. used
instrumentalities of interstate commerce to send the COM, Prospectus, and Prospectus
Supplement to actual and potential purchasers, stamped its name upon the COM,

Prospectus, and Prospectus Supplement, and helped prepare the COM, Prospectus, and

PLAINTIFF’S AMENDED COMPLAINT — page 8
23.

Case 3:02-0v-0221 MD Document 4 Filed 12/13/02 @. of 63 PagelD 46

Prospectus Supplement. PaineWebber Inc. was motivated by potential profits from the
sale of the Certificates and by a desire to sell the Certificates it owned as a result of the
transaction. Paine Webber helped prepare the COM, Prospectus, and Prospectus
Supplement. Paine Webber was motivated by a desire to assist PaineWebber Inc., its
affiliate and the Certificate owner, in selling the Certificates. Paine Webber was further
motivated by a desire to retain its profit from the sale of its loans to PaineWebber

Mortgage. PaineWebber Mortgage stamped its name upon the COM, Prospectus, and

Prospectus Supplement and helped prepare the COM, Prospectus, and Prospectus

Supplement. PaineWebber Mortgage was motivated by the desire to retain its profits

from the sale of the Certificates to PatneWebber Inc. and Merrill Lynch, Pierce, Fenner &

Smith Inc., and by a desire to assist PaineWebber Inc., its affiliate and the Certificate

owner, in selling the Certificates.

The Misrepresentations in Offering Materials

In the COM, Prospectus, and Prospectus Supplement, PaineWebber Inc., Paine Webber,

Merrill Lynch, and PaineWebber Mortgage represented that:

a. “The Mortgage Loans sold to the Depositor by PWRES [Paine Webber Real Estate
Securities Inc.] were generally underwritten in accordance with the underwriting
criteria described under ‘- PWRES Underwriting Standards.’” Pro. Supp. at S-41.

b. “Each Mortgaged Property sold to the Depositor was inspected by either (a) a
member of PWRES’ professional staff or by a direct agent PWRES, in the case of a
Mortgage Loan sold by PWRES. [...] No inspection revealed any patent structural

deficiency or any deferred maintenance considered material and adverse to the

PLAINTIFF’S AMENDED COMPLAINT - page 9
Case 3:02-0v-0221Mpbocument 4 Filed 12/13/02 BD. of 63 PagelD 47

interests of the holders of the Offered Certificates or for which adequate reserves
have not been established.” Pro. Supp. at S-66.

c. “Replacement reserves were calculated in accordance with the expected useful life of
the components of the related Mortgaged Property [...] The useful life and cost of
replacements were based upon estimates provided by professional engineers pursuant
to building condition reports completed for each Mortgaged Property, subject to
certain minimum underwritten replacement reserves which are described under the
heading ‘Escrow Requirements’ set forth under ‘PWRES’ Underwriting Standards’.”
Pro. Supp. at S-65.

d. “All of the Mortgaged Properties were appraised in connection with the origination of
the related Mortgage Loans. Each such appraisal was in compliance with the Code of
Professional Ethics and Standards of Professional Practice of the Appraisal Institute
and/or the Uniform Standards of Professional Appraisal Practice as adopted by the
Appraisal Standards Board of the Appraisal Foundation.” Pro. Supp. at S-66.

e. “In connection with the origination of each Mortgage Loan, a professional engineer,
licensed architect or qualified consultant inspected each related Mortgaged Property
to assess the condition of the structure, exterior walls, roofing, interior structure and
mechanical and electrical systems. The resulting reports indicated whether deferred
maintenance items on certain Mortgaged Properties was required and it recommended
certain capital improvements for which reserves were generally established at
origination.” Pro. Supp. at S-66.

f. “In underwriting a mortgage loan, PWRES examines borrower-provided property

financial statements and rent rolls. Additionally, property operating history, industry

PLAINTIFF’S AMENDED COMPLAINT — page 10
24.

25.

Case 2:02-cv.02212Mbocument 4 Filed 12/13/02 MB. of 63 PagelD 48

data regarding the local real estate market and an independent appraisal are
reviewed.” Pro. Supp. S-67.

“The Mortgage Loans originated by PWREI [PW Real Estate Investments Inc.] and
such third-party originators and sold by PWRES to the Depositor were generally
underwritten to PWRES guidelines as set forth below [...] In some instances, one or
more provisions of the underwriting guidelines were waived or modified where it was
determined by PWRES not to adversely affect such Mortgage Loans in any material

respect.” Pro. Supp. at S-67.

. “In underwriting a mortgage loan, PWRES evaluates the borrower-provided property

financial statements and rent rolls. Additionally, property operating history, industry
data regarding the local real estate market and an independent appraisal are
reviewed.” Pro. Supp. at S-67.

“An engineering study and an environmental review are prepared by qualified

39

consultants as described in ‘—Property Condition Assessments’ above.” Pro. Supp.

S-68.

PaineWebber Inc., Paine Webber, Merrill Lynch, and PaineWebber Mortgage also
represented that “Each Mortgage Loan Purchase and Sale Agreement shall obligate the
related Mortgage Loan Seller to cure any breach of its representations and warranties (or
a missing or defective document in the mortgage file) that materially and adversely
affects the interests of the Trust in such Mortgage Loan.” Pro. Supp. at S-71.

Indeed, the Depositor, PaineWebber Mortgage, attempted to emphasize its and the future
Certificateholders’ reliance on the representations and warranties of each Mortgage Loan

Seller, including Paine Webber: “The Depositor makes no representations or warranties

PLAINTIFF’S AMENDED COMPLAINT - page 11
26.

27.

28.

Case :02-0v.02212MPbocument 4 Filed 12/13/02 Pal 2 of 63 PagelD 49

with respect to the Mortgage Loans and will have no obligation to repurchase or
substitute for defective Mortgage Loans. Each Mortgage Loan Seller is selling the
Mortgage Loans sold by it without recourse, and, accordingly, will have no obligations
with respect to the Certificates other than pursuant to the limited representations,
warranties and covenants made by it to the Depositor and assigned by the Depositor to
the Trustee for the benefit of the Certificateholders.” Pro. Supp. at S-71. In this instance,
however, PaineWebber Mortgage was in a position to assess the accuracy of the
representations and warranties. The same individual who signed the Mortgage Loan
Purchase Agreement on Paine Webber’s behalf making the representations and

watranties also signed on PaineWebber Mortgage’s behalf

Misrepresentations in the Mortgage Loan Purchase Agreement Incorporated into the

Offering Materials

Paine Webber transferred the loans to PaineWebber Mortgage (which transferred the
loans to the Trust) under a June 1, 1999 Mortgage Loan Purchase Agreement.

Under the Mortgage Loan Purchase Agreement, Paine Webber made representations and
warranties about the characteristics of the loans transferred. Paine Webber agreed that
these representations and warranties were for the Certificateholders’ benefit, and that
ORIX, as Servicer and as Special Servicer, could enforce the representations and
warranties on the Certificateholders’ behalf.

Specifically, Paine Webber represented and warranted that:

a. “The Mortgage Loan Seller has not withheld any material information with

respect to the Mortgage File;” See MLPA 3.2.(a)(v);

PLAINTIFF’S AMENDED COMPLAINT -~ page 12

 
Case 2:02-cv-022124Dbocument 4 Filed 12/13/02 PD. of 63 PagelD 50

b. “The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2.(b)(ii);

c. ‘(A) Neither the Mortgage Loan Seller, nor, to the Mortgage Loan Seller’s best
knowledge, (1) any originator other than the Mortgage Loan Seller or (2) the
Mortgagor, committed any fraudulent acts during the origination process of any
Mortgage Loan, ... and (C) to the best of the Mortgage Loan Seller’s knowledge,
(1) the origination of each Mortgage Loan purchased by the Mortgage Loan Seller
and (2) the servicing and collection of each Mortgage Loan is in all material
respects legal, proper and prudent in accordance with customary industry
standards utilized by prudent institutional and commercial mortgage lenders or
loan servicers as appropriate.” See MLPA 3.2(b)(iii);

d. Immediately prior to the sale of the Mortgage Loan to the Depositor, the
Mortgage Loan Seller had good and marketable title to and was the sole owner
and holder of each Mortgage Loan, and the assignment validly transferred its
ownership of the Mortgage Loan, free and clear of any and all liens, pledges and
other encumbrances.” See MLPA 3.2(b)(iv);

€. “There is no material default, breach, violation or event of acceleration existing
under the related Mortgage or Mortgage Note, and to the Mortgage Loan Seller’s
knowledge, there is no event ... which, with the passage of time or with notice
and the expiration of any grace or cure period, would constitute such a default,

breach, violation or event of acceleration.” See MLPA 3.2(b)(vi);

PLAINTIFF’S AMENDED COMPLAINT — page 13
Case 2:02-0v-02212MPbocument 4 Filed 12/13/02 PB. of 63 PagelD 51

f. “To the knowledge of [Paine Webber], as of the Closing Date, there is no pending
action, suit or proceeding, arbitration or governmental investigation against a
Mortgagor or Mortgaged Property, an adverse outcome of which would materially
and adversely affect such Mortgagor’s ability to perform under the related
Mortgage Loan.” See MLPA 3.2(b)(ix);

g. “Fach Mortage is a valid and enforceable first lien on the related Mortgage
Property subject only to ... (B) covenants, conditions and restrictions, rights of
way, easements and other matters of public record, none of which, individually or
in the aggregate, materially interferes with the current use of the Mortgageed
Property or the security intended to be provided by such Mortgage or with the
related Mortgagor’s ability to pay its obligations when they become due or the
value of the Mortgaged Property.” See MLPA 3.2(b)(xxiv);

h. “The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2(b)(xxvi);

i. “To [Paine Webber]’s knowledge, based upon a site inspection conducted in
connection with the origination of the Mortgage Loan and a review of the related
engineering report, each related Mortgage Property is free and clear of any
material damage that would affect materially and adversely the value of such
Mortgaged Property as security for the Mortgage Loan[.]” See MLPA
3.2(b)(xxxviii);

J. “The improvements located on or forming part of each Mortgaged Property

comply with applicable zoning and building laws, ordinances and regulations, or

PLAINTIFF’S AMENDED COMPLAINT - page 14
Case 2:02-0v-02212M@bocument 4 Filed 12/13/02 PO: of 63 PagelD 52

.. if any such improvement does not so comply, such non-compliance does not
materially and adversely affect the value of the related Mortgaged Property.” See
MLPA 3.2(b)(xli);

k. “[T]he appraisal and appraiser both satisfy the requirements of the ‘Uniform
Standard of Professional Appraisal Practice’ as adopted by the Appraisal
Standards Board of the Appraisal Foundation, all as in effect on the date the
Mortgage Loan was originated.” See MLPA 3.2(b)(1);

1. “With respect to each Mortgage Loan originated by a correspondent of the [Paine
Webber] and purchased or ‘table funded’ by [Paine Webber] in connection with a
correspondent relationship with such originator ... (A) such Mortgage Loan was
underwritten substantially in accordance with standards established by [Paine
Webber], (which standards are in all material respects the same as the
underwriting standards for Mortgage Loans originated by [Paine Webber]); ... (C)
the closing documents (which include assignment documents executed by the
Mortgage Loan originator in favor of [Paine Webber]) for the Mortgage Loan
were prepared in substantial compliance with forms approved by [Paine Webber]
as the successor and assign to the Mortgage Loan originator.” See MLPA
3.2(b)(Ivi); and

m. “Each Mortgage Loan originated by [Paine Webber] was underwritten consistent
in all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial

mortgage conduit lending standards.” See MLPA 3.2(b)(Ivii).

PLAINTIFF’S AMENDED COMPLAINT -— page 15
29.

30.

31.

32.

33.

Case 2:02-cv.02212. MPbocument 4 Filed 12/13/02 oD. of 63 PagelD 53

THE REALITY: DOOMED LOANS -- DEFENDANTS?’
MISREPRESENTATIONS, OMISSIONS, AND SUBSEQUENT COVER-UP

Defendants made material misrepresentations and omissions regarding the loans that

Paine Webber sold to the Trust as a Mortgage Loan Seller.

Consequently, compared to all loans in the Loan Pool, the Paine Webber loans have

disproportionately defaulted or required special attention. In particular, the loans did not

meet the standards represented in the COM, Prospectus Supplement, and the Mortgage

Loan Purchase Agreement.

These problems, and the subsequent investigation by ORIX as the Trust’s Servicer and

Special Servicer, demonstrate that Paine Webber:

a. Did not perform underwriting conforming to the representations made in the
COM, Prospectus Supplement, and the Mortgage Loan Purchase Agreement;

b. Waived or modified underwriting guidelines that adversely affected loans in the
Loan Pool in a material respect; and

c. Failed to evaluate Borrowers and Borrowers’ principals with respect to their
financial capacity to meet obligations, credit history, and prior experience as
owners and operators of commercial property.

ORIX and the Certificateholders did not know of the untruths and omissions detailed in

this Amended Complaint when they purchased the Certificates.

Paine Webber failed to disclose that its practices in making the loans to be placed by it in

the Trust and to be underwritten and offered to investors by its affiliate, PaineWebber

Inc., did not conform to industry standards and, in fact, affirmatively misrepresented the

quality of the loans that it deposited in the Trust. These affirmative misrepresentations:

(1) were made by Paine Webber in the MLPA for the purpose of inducing the Trust to

PLAINTIFF’S AMENDED COMPLAINT — page 16
34.

35.

Case 2:02-cv-02212Mbocument 4 Filed 12/13/02 BD. of 63 PagelD 54

accept the loans and issue the Certificates and with the intent to induce Certificateholders
to purchase the Certificates; (2) were incorporated by Paine Webber’s affiliates,
PaineWebber Inc. and PaineWebber Mortgage, in the Prospectus, Prospectus
Supplement, and COM without modification or correction for the purpose of inducing
investors to purchase Certificates, and (3) have not been corrected by the Defendants.
Defendants concealed their fraud by failing to provide ORIX with relevant documents,
even those documents ORIX needed to perform its duties as Servicer under the Pooling
and Servicing Agreement. Defendants failed to produce documents related to the
underwriting of loan files as required by the Pooling and Servicing Agreement, which
required Trustee LaSalle Bank, N.A. to file suit on March 28, 2002 against UBS Warburg
Real Estate Securities (“UBS Warburg RES”) to obtain such documents.

That action, styled LaSalle Bank, N.A. & ORIX Capital Markets, L.L.C. v. UBS Warburg
Real Estate Securities, Inc., Case No. 02-02899 in the 134" District Court of Dallas
County, Texas, was brought due to Paine Webber’s willful failure to deliver to ORIX and
LaSalle Bank documents related to the mortgage loans. On July 8, 2002, Paine Webber’s
successor, UBS Warburg RES, responded to ORIX’s request for production and requests
for admissions in the LaSalle case. The request for production sought, among other
things, “{a]ll copies of the origination files or documents related to the Mortgage Loans,
in your possession, custody or control.” In responding to a Motion to Compel production
of such documents, UBS Warburg RES represented to the Court that “UBSWRES had
produced all non-privileged documents responsive to Orix’s First Request for Production

that UBSWRES was able to locate through a diligent search — totaling over 192,000

PLAINTIFF’S AMENDED COMPLAINT - page 17
36.

37.

38.

39.

Case 2:02-0v.0221 2 MDbocument 4 Filed 12/13/02 Pal 8 of 63 PagelD 55

pages in this and a companion lawsuit brought by Orix with LaSalle Bank, N.A.” The
reference to the “companion lawsuit” is the LaSalle case described above.

UBS Warburg RES further represented to the Court that “Plaintiffs’ demand that ‘UBS
should be required to produce these document [sic] contained within an origination file to
the extent they exist’ was moot before it was filed”, that “UBSWRES has already
produced every non-privileged document responsive to these and ORIX’s other requests
that UBSWRES was able to locate after a diligent search”, and that “despite the valid
objections raised in the Response and Objections, UBSWRES withheld no documents
from its production save privileged documents and a modest number of documents
apparently subject to written confidentiality agreements or requests for confidential
treatment.” (emphasis added).

Based on a preliminary analysis of the origination files produced by UBS Warburg RES,
Paine Webber did not meet the represented guidelines for underwriting the loans. Such
deficient document production can only be attributed to Defendants’ failure to follow
their stated underwriting standards or their improper failure to deliver to ORIX and the
Trustee or to maintain such documents.

The allegations in paragraphs 39 and 40 below, as well as those in paragraph 47, are
made on information and belief, formed after review of these origination files.

For example, a significant number of the files for the 141 borrowers in the loan pool lack
financial statements, tax returns, organizational corporate documents, credit reports,
public record checks, and/or verifications. Despite the lack of financial statements, tax
returns, organizational documents, credit reports, public record checks, and/or

verifications, Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented

PLAINTIFF’S AMENDED COMPLAINT ~ page 18
40.

Case 2:02-cv-02212MDbocument 4 Filed 12/13/02 oD of 63 PagelD 56

that: “The borrower, and in the case of any Mortgage Loan secured by an indemnity deed
of trust on a Mortgaged Property, the guarantor, under each of these Mortgage Loans is a
single purpose entity.” Pro. Supp. at S-62. See also MLPA 3.2(b)(x). Without obtaining
such documents, however, Paine Webber could not have known that the borrowers were
indeed single purpose entities, and, indeed, ORIX later discovered through litigation
against individual borrowers that some of the borrowers were not single purpose entities.
In addition, significant numbers of the files for the 141 properties in the loan pool lack
rent rolls, operating statements, engineering reports, environmental reports, appraisals,
evidence of another appraisal within 2 years of the loan, site inspection reports, and/or
utility records. Despite this lack of rent rolls, operating statements, engineering reports,
environmental reports, appraisals, evidence of another appraisal within 2 years of the
loan, site inspection reports, and/or utility records:

a) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that
“’..property operating history, industry data regarding the local real estate market and
an independent appraisal are reviewed.” Pro. Supp. at S-67. See also MLPA
3.2(b)(xvi). However, the absence of these documents from the loan origination files
indicates that such information was not reviewed for significant numbers of the loans.

b) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that: “In
underwriting a mortgage loan, PWRES evaluates the borrower-provided property
financial statements and rent rolls.” Pro. Supp. at S-67. See also MLPA 3.2(b)(xvi).
The significant absence of these documents demonstrates that in underwriting the

mortgages, Paine Webber did not evaluate financial statements or rent rolls. Further,

PLAINTIFF’S AMENDED COMPLAINT - page 19
Case 2:02-0v.0221 2 DSocument 4 Filed 12/13/02 Pa Oof 63 PagelD 57

Paine Webber, PaineWebber Inc. and PaineWebber Mortgage failed to disclose that
significant numbers of origination files contain no such documents.

c) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage also represented that:
“each Mortgage Loan requires the related borrower to provide annual operating
statements, rent rolls, and other information that the holder of the Mortgage Loan
may reasonably request in connection with the related borrower and the related
Mortgaged Property.” Pro. Supp. at S-72. See also MLPA 3.2(b)(xvi). However,
Paine Webber, PaineWebber Inc. and PaineWebber Mortgage failed to disclose that
such information was not requested for significant numbers of loans in the pool.

d) PaineWebber, PaineWebber Inc. and PaineWebber Mortgage represented that: “Each
Mortgaged Property sold to the Depositor was inspected by either (a) a member of the
PWRES’ professional staff or by a direct agent PWRES, in the case of a Mortgage
Loan sold by PWRES, and (b), a member of the originator’s professional staff or by a
third-party professional retained for such purposes by the originator...” Pro. Supp. at
S-66. The significant lack of inspection reports in the file demonstrates that
significant numbers of properties in the pool were not inspected as represented.

e) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that: “In
connection with the origination of each Mortgage Loan, a professional engineer,
licensed architect or qualified consultant inspected each related Mortgaged Property
to assess the condition of the structure, exterior walls, roofing, interior structure and
mechanical and electrical systems. The resulting reports indicated whether deferred
maintenance items on certain Mortgaged Properties was required and it recommended

certain capital improvements for which reserves were generally established at

PLAINTIFF’S AMENDED COMPLAINT - page 20
Case 2:02-0v-02212 Mpbocument 4 Filed 12/13/02 oO. of 63 PagelD 58

origination.” Pro. Supp. at S-66. See also MLPA 3.2(b)(xxxviii). The absence of
these documents from the loan origination files indicates that significant numbers of
the properties in the loan pool were not inspected as represented.

f) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that: “to
the Mortgage Loan Seller’s knowledge, based upon a site inspection conducted in
connection with the origination of the Mortgage Loan and a review of the related
engineering report, each related Mortgaged Property is free and clear of any material
damage that would affect materially and adversely the value of such Mortgaged
Property...” Pro. Supp. at S-73. See also MLPA 3.2(b)(xxxviii); MLPA 3.2(b)(1).
Paine Webber, PaineWebber Inc. and PaineWebber Mortgage further represented
that: “A ‘Phase I’ environmental site assessment was performed with respect to each
Mortgaged Property in connection with the origination of the related Mortgage Loan
and ‘Phase II’ environmental site assessments were performed with respect to certain
Mortgaged Properties.” Pro. Supp. at S-66. See also MLPA 3.2(b)(xlvi). Paine
Webber, PaineWebber Inc. and PaineWebber Mortgage also represented that: “a
Phase I Environmental Report and with respect to certain Mortgage Loans, a Phase II
Environmental Report, was conducted by a reputable environmental engineer in
connection with such Mortgage Loan, which did not indicate any material non-
compliance or material existence of hazardous material or, if any material non-
compliance or material existence of hazardous materials was indicated in any such
report.” Pro. Supp. at S-74. See also MLPA 3.2(b)(xlvi). The absence of

architecture reports, engineering reports, and site assessments from the origination

PLAINTIFF’S AMENDED COMPLAINT -— page 21
Case 2:02-0v.02212MpPbocument 4 Filed 12/13/02 LO. of 63 PagelD 59

files, however, demonstrates that Paine Webber failed to inspect significant numbers
of properties in the loan pool.

g) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that: “All
of the Mortgaged Properties were appraised in connection with the origination of the
related Mortgage Loans. Each such appraisal was in compliance with the Code of
Professional Ethics and Standards of Professional Practice as adopted by the
Appraisal Standards Board of the Appraisal Foundation.” Pro. Supp. at S-66. See
also MLPA 3.2(b)(/). Paine Webber, PaineWebber Inc. and PaineWebber Mortgage
also represented that: “the mortgage file contains an appraisal of the related
Mortgaged Property which appraisal is signed by a qualified appraiser, who, to the
best of the Mortgage Loan Seller’s knowledge, had no interest, direct or indirect, in
the Mortgaged Property or the borrower in any loan made on the security thereof, and
whose compensation is not affected by the approval or disapproval of the Mortgage
Loan, the appraisal and appraiser both satisfy the requirements of the ‘Uniform
Standards of Professional Appraisal Practice’ as adopted by the Appraisal Standards
Board of the Appraisal Foundation, all as in effect on the date the Mortgage Loan was
originated.” Pro. Supp. at S-75-76. See also MLPA 3.2(b)(J). The absence of
appraisals from the origination files, however, demonstrates that significant numbers
of mortgaged properties were not appraised as represented.

h) Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that: “the
Mortgage Loan Seller has inspected and caused to be inspected each related
Mortgaged Property within the past twelve months.” Pro. Supp. at S-74. See also

MLPA 3.2(b)(xliii). The absence of inspection reports from the origination files,

PLAINTIFF’S AMENDED COMPLAINT - page 22
41.

Case 2:02-0v-02212MDbocument 4 Filed 12/13/02 BD. of 63 PagelD 60

however, demonstrates that significant numbers of properties were not inspected as
represented.

Paine Webber, PaineWebber Inc. and PaineWebber Mortgage represented that:
“Replacement reserves were calculated in accordance with the expected useful life of
the components of the related Mortgaged Property [...] The useful life and cost of
replacements were based upon estimates provided by professional engineers pursuant
to building condition reports completed for each Mortgaged Property, subject to
certain minimum underwritten replacement reserves which are described under the
heading ‘Escrow Requirements’ set forth under ‘PWRES’ Underwriting Standards’.”
Pro. Supp. at S-65. The absence of estimates and engineering reports in Paine
Webber’s loan origination files demonstrates that replacement reserves for significant

numbers of loans were not calculated as represented.

The origination files, for individual loans involving millions of dollars, are nearly devoid

of documentation and meaningful information. Numerous files leave issues open without

any documentation that the issues were resolved before closing. Numerous files lack any

information whatsoever on the property, borrower, or principals. In the rare instances

that an origination file does contain meaningful documents, those documents indicate

significant inconsistencies, inaccuracies, and efforts to conceal that the underwriting on

the particular loan was not legal, proper, or prudent in accordance with customary

industry standards utilized by prudent institutional and commercial mortgage lenders. By

way of example and not limitation:

a) The origination file for PW4923 contains documents showing discrepancies between

the identities of the borrower’s stockholders.

PLAINTIFF’S AMENDED COMPLAINT — page 23
Case 02-0v-02212 MPbocument 4 Filed 12/13/02 oD, of 63 PagelD 61

b) The origination file for PW2550 contains an underwriter sign-off requiring line items
for environmental holdback, equipment lease escrow, and bathroom repairs, but the
closing statement does not reflect these items. The file also contains written notes
requiring a $109,896 escrow for equipment leases, but the closing statement does not
reflect that any such amount was withheld.

c) The origination file for PW4319 contains a memorandum recommending establishing
a $25,000 escrow for past due taxes, but the closing statement does not reflect the
recommended escrow.

d) The origination file for PW3714 contains documents showing inconsistencies on the
identity of the borrower’s general and limited partners.

e) The origination file for PW7134 contains numerous survey deficiencies, and indicates
the Paine Webber inexplicably waived obtaining certified year-to-date property
income and expense statements from the borrower. The rent rolls in the file contain
no information regarding the terms of the leases or the security deposits.

f) The origination file for PW7133 indicates that Paine Webber waived obtaining
certified year-to-date property income and expense statements from the borrower.
The rent rolls in the file contain no information regarding the terms of the leases. A
related origination file for PW7021 also contained rent rolls without information
regarding the terms of the leases.

g) The origination file for PW4035 contains no tenant estoppels and subordination non-
disturbance and attornment (SNDA) agreements for all but one tenant.

h) The origination file for PW4629 contains no tenant estoppels and subordination non-

disturbance and attornment (SNDA) agreements.

PLAINTIFF’S AMENDED COMPLAINT — page 24
Case 2:02-cv-02212 Document 4 Filed 12/13/02 Pa 5 of 63 PagelD 62

i) The origination file for PW3825 contains evidence that the borrower is not a single
purpose entity and a letter from an environmental consultant stating that the property
is a large generator of hazardous waste.

j) The origination file for PW4546 contains a completion/repair security agreement that
lists required repairs in excess of the amount of the security deposit required to pay
for the repairs.

k) The origination file for PW2005 contains documents showing discrepancies over the
borrower’s owner, and the file did not contain any tenant estoppels or subordination
non-disturbance and attornment (SNDA) agreements.

1) The origination file for PW4817 contains underwriting analysis estimating ADA
compliance at $750,000-$1,000,000, but the closing statement collects only $239,050
for this purpose. Furthermore, the file contains a notation that the borrower had a
history of being difficult with other lenders, noting that “Borrower played serious
hardball” with its previous lender by not making debt service payments for two
months. The file did not contain any tenant estoppels or subordination non-
disturbance and attornment (SNDA) agreements.

m) The origination file for PW3441 shows the property’s history of multiple violations
for failure to maintain the elevator, for failure to obtain necessary permits for
alterations to the property, and for using the property as a residential property.

n) The origination file for PW4818 recommends a Phase II Environmental Report before
closing, but the transaction closed prior to the receipt of the report.

0) The origination file for PW6544 contains a deed of trust note for the property

executed by a borrower on another loan.

PLAINTIFF’S AMENDED COMPLAINT — page 25
Case 3:02-0v.02212Dbocument 4 Filed 12/13/02 > O. of 63 PagelD 63

p) The origination file for PW3189 contains background searches showing numerous
lawsuits and liens against the borrower’s principals. A termite inspection revealed
subterranean termites on the property, but Paine Webber did not require remediation
or an escrow to address this issue.

q) The origination file for PW3615 contains a Completion/Repair Security Agreement
missing its Exhibit B, which details the repairs to be performed under the agreement.

r) The origination file for PW1623 indicates that the borrower’s insurance carrier did
not meet the minimum rating.

s) The origination file for PW4112 shows that the amendment making the borrower a
single purpose entity did not occur until four months after closing. Documents in the
file indicate inconsistencies as to the identities of the borrower’s principals.

t) The origination file for PW6414 shows that the borrower is a general partnership and
therefore cannot be a single purpose entity. Paine Webber also allowed the borrower
to have a non-market management agreement with a related party manager.

u) The origination file for PW3968 contains a commitment providing for a maximum
80% loan-to-value ratio. Based on the purchase price, the loan has an 83% loan-to-
acquisition ratio.

v) The origination file for PW5947 provides for a 3% penalty on property taxes at
closing and indicates that 18 of the 21 tenants lease month-to-month.

w) The origination file for PW4152 shows that the borrower also owns the property
under loan PW4151 and thus is not a single purpose entity. An environmental
assessment recommends an operations and maintenance plan for asbestos

remediation, but no such plan was executed at closing.

PLAINTIFF’S AMENDED COMPLAINT — page 26
42.

Case 3:02-0v.02212 MBbocumen 4 Filed 12/13/02 Pa 7 of 63 PagelD 64

x) The origination file for PW4975 was a loan for the acquisition of a lease hold interest,
and based on the lease price, had a loan to acquisition ration of 91%.

y) The origination file for PW4819 contains no credit reports, but the commitment
indicates that one guarantor has two reported adverse judgments. The file did not
contain any tenant estoppels or SNDA agreements.

z) The origination file for PW3397 contains no credit reports, but the commitment
indicates that one guarantor has an adverse civil judgment. The documents show a
discrepancy between the tenant estoppels and the rent rolls.

aa) The origination file for PW4149 shows discrepancies between rent rates and the
tenant estoppels.

bb) The origination file for PW8190 is missing half the tenant estoppels, and the
estoppels present in the file show discrepancies with the rent rolls.

cc) The origination file for PW6460 contains no rent rolls, tenant estoppels, or SNDA
agreements.

Furthermore, the Prospectus and Prospectus Supplement gave the impression that the

underwriting on the loans Paine Webber contributed to the loan pool was performed

competently and _ professionally. PaineWebber Mortgage, Paine Webber, and

PaineWebber Inc. failed to reveal that the underwriting on the Paine Webber loans was

slipshod, incompetent, negligent, and undocumented in significant respects. The large

volume of documents missing from the origination files demonstrates on information and
belief that these were not mere oversights. ORIX’s preliminary review demonstrates that
not a single origination file for the loans that Paine Webber contributed to the loan pool

contains all of the basic documents listed above. Indeed, several origination files contain

PLAINTIFF’S AMENDED COMPLAINT — page 27
43.

44.

Case 3:02-0v-02212@Dbocumen 4 Filed 12/13/02 _ } of 63 PagelD 65

almost none of the documents listed above, and at least half of the origination files lack

half of the documents listed above.

The above omissions and misrepresentations were material because legal, proper, and

prudent underwriting of mortgage loans in accordance with customary industry standards

is the key to receiving a return on the Certificates. ORIX and the Certificateholders did

not know of these omissions at the time that they purchased the Certificates. Had ORIX

and the Certificateholders known the truth about Paine Webber’s underwriting, they

would not have purchased the Certificates.

Furthermore, in spite of the numerous failings, omissions, and inaccuracies listed above:

a)

b)

Paine Webber represented in the Prospectus Supplement that: “The Mortgage Loans
sold to the Depositor by PWRES were generally underwritten in accordance with the
underwriting criteria described under ‘-PWRES Underwriting Standards’ below...”
Pro. Supp. at S-41. In fact, the numerous issues listed above did not constitute
origination and servicing that in all material respects was legal, proper and prudent in
accordance with customary industry standards utilized by prudent institutional and
commercial mortgage lenders or loan servicers.

Paine Webber represented in the Mortgage Loan Purchase Agreement that: “The
Mortgage Loans originated by PWREI and such third-party originators and sold by
PWRES to the Depositor were generally underwritten to PWRES guidelines as set
forth below [...] In some instances, one or more provisions of the underwriting
guidelines were waived or modified where it was determined by PWRES not to
adversely affect such Mortgage Loans in any material respect.” Pro. Supp. at S-67.

In fact, based upon the numerous issues listed above, the underwriting did not

PLAINTIFF’S AMENDED COMPLAINT - page 28
45.

46.

Case 2:02-0v-02212.Mbocument 4 Filed 12/13/02 oa of 63 PagelD 66

constitute underwriting consistent in all material respects with prudent commercial

mortgage conduit lending standards.
Indeed, it was only through discovery initiated in actions brought on loans in default that
ORIX has discovered documents demonstrating Defendants’ fraud. Through subsequent
litigation against other borrowers in default, both related to this loan pool and another
Paine Webber loan pool in a Trust called Merrill Lynch Mortgage Investors, Inc.
Mortgage Pass-Through Certificates Series 1999-C1, ORIX has discovered a pattern of
Defendants making material misrepresentations and omissions concerning the loan pool.
Plaintiff did not know, and in the exercise of reasonable diligence could not have known
more than two years before the filing of this suit of Defendants’ pattern and practice of
failing to follow proper underwriting procedures and of misrepresenting the quality of the
loans placed by Paine Webber in the Trust and of the falsity of the representations made
by Paine Webber, PaineWebber Inc., and PaineWebber Mortgage in connection with the
offer and sale of the securities.
A significant interrelationship existed between PaineWebber Mortgage, Paine Webber,
and PaineWebber Inc. Specifically, the Co-Head of PaineWebber Inc.’s Commercial
Real Estate Division, responsible for the strategic and day-to-day management of
PaineWebber Inc.’s CMBS trading and all debt and mezzanine lending activities, also
served as Managing Director Commercial Real Estate of Paine Webber, and as president
and director PaineWebber Mortgage. PaineWebber Inc.’s Managing Director of Conduit
Programs also served as Managing Director Conduit for Paine Webber. The Managing
Director of Conduit Programs was responsible for making commercial loans, and

reported directly to the Co-Head. Furthermore, PaineWebber Inc.’s Managing Director

PLAINTIFF’S AMENDED COMPLAINT — page 29
47.

Case 2:02-0v-02212 Document 4 Filed 12/13/02 >. of 63 PagelD 67

of Bond Structuring is not listed as an officer of Paine Webber by contemporary
publications, but is Senior Vice President and Director of PaineWebber Mortgage.
Despite not appearing as an officer of Paine Webber, this individual signed the Mortgage
Loan Purchase Agreement on behalf of Paine Webber (as Mortgage Loan Seller) and on
behalf of PaineWebber Mortgage (as Purchaser), listing his title as “Managing Director.”
Defendants acted with the requisite mental state.

a) PaineWebber Inc. acted with the requisite mental state.

1) PaineWebber Inc. acted severely recklessly when it sold Certificates in private

and public offerings. Specifically, the sale of Certificates involved an extreme
departure from standards of ordinary care because of the significant
interrelationship between PaineWebber Inc. and Paine Webber set forth above.
Given this interrelationship, PaineWebber Inc. knew or should have known about
Paine Webber’s underwriting practices and procedures, Paine Webber’s
generation of the mortgage loans for the pool, and that the loans Paine Webber
generated for the pool did not meet the quality standards represented in the
Mortgage Loan Purchase Agreement, the COM, Prospectus, and Prospectus
Supplement. Furthermore, PaineWebber Inc. incorporated the misrepresentations
and omissions into the COM, Prospectus, and Prospectus Supplement, solicited
purchases of the Certificates under the Prospectus and Prospectus Supplement,
and placed its name upon the COM, Prospectus, and Prospectus Supplement. The
shocking absence of documents from the loan origination files demonstrates a
severe degree of recklessness regarding the representations and warranties that

PaineWebber Inc. used to create the Prospectus and Prospectus Supplement and

PLAINTIFF’S AMENDED COMPLAINT — page 30
Case 5:02-0v.02212 MPbocument 4 Filed 12/13/02 oA of 63 PagelD 68

2)

3)

solicit purchases of Certificates. Thus, PaineWebber Inc. knew (or it was so
obvious that PaineWebber Inc. must have been aware of it) that it presented a
danger of misleading buyers and sellers of Certificates by offering the Certificates
through a COM, Prospectus, and Prospectus Supplement that contained fraudulent
material misrepresentations and omissions that PaineWebber Inc. knew or should
have known were fraudulent.

PaineWebber Inc. acted consciously by selling the Certificates to purchasers when
PaineWebber Inc. knew that the representations made in the COM, Prospectus,
and Prospectus Supplement were false or that they contained material omissions.
Given the interrelationship between PaineWebber Inc. and Paine Webber,
PaineWebber Inc. had to know that the mortgage loan origination files did not
contain the most basic evidence of due diligence. Despite this knowledge,
PaineWebber Inc. made no effort to correct or modify the representations and
warranties in the Mortgage Loan Purchase Agreement, or the appearance of the
representations and warranties as they appeared in the COM, Prospectus, and
Prospectus Supplement. PaineWebber Inc. also made no effort to correct or
modify the representations and warranties in soliciting the purchase of
Certificates.

PaineWebber Inc. had the motive and opportunity to commit fraud. Its officer
signed the Mortgage Loan Purchase Agreement on behalf of Paine Webber, even
though on information and belief that individual was not an officer of Paine
Webber. PaineWebber Inc. had the opportunity to correct the misrepresentations

and omissions that were there and that were repeated in the COM, Prospectus, and

PLAINTIFF’S AMENDED COMPLAINT - page 31
Case 3:02-0v.02212 Document 4 Filed 12/13/02 oO. of 63 PagelD 69

Prospectus Supplement. PaineWebber Inc. was motivated by the opportunity to
make a profit for the sale of the Certificates and by a desire to sell the Certificates
it owned as a result of the transaction.

b) PaineWebber Mortgage acted with the requisite mental state.

1) PaineWebber Mortgage. acted severely recklessly when it purchased the mortgage
loans from Paine Webber and sold Certificates to PaineWebber Inc. for resale in
private and public offerings. Specifically, the sale of Certificates involved an
extreme departure from standards of ordinary care because of the significant
interrelationship between PaineWebber Mortgage, PaineWebber Inc., and Paine
Webber set forth above. Given this interrelationship, PaineWebber Mortgage
knew or should have known about Paine Webber’s underwriting practices and
procedures, Paine Webber’s generation of the mortgage loans for the pool, and
that the loans Paine Webber generated for the pool did not meet the quality
standards represented in the Mortgage Loan Purchase Agreement, the COM,
Prospectus, and Prospectus Supplement. Furthermore, PaineWebber Mortgage
incorporated the misrepresentations and omissions into the COM, Prospectus, and
Prospectus Supplement, solicited purchases of the Certificates through the
Prospectus and Prospectus Supplement, and placed its name upon the COM,
Prospectus, and Prospectus Supplement. The shocking absence of documents
from the loan origination files demonstrates a severe degree of recklessness
regarding the representations and warranties that PaineWebber Mortgage used to
create the Prospectus and Prospectus Supplement and solicit purchases of

Certificates. It also demonstrates a severe degree of recklessness in PaineWebber

PLAINTIFF’S AMENDED COMPLAINT - page 32
Case 2:02-cv.02212. MpPbocument 4 Filed 12/13/02 Pal 3 0f 63 PagelD 70

Mortgage’s purchase of the mortgage loans from Paine Webber. Thus,
PaineWebber Mortgage knew (or it was so obvious that Paine Webber must have
been aware of it) that it presented a danger of misleading buyers and sellers of
Certificates by offering the Certificates in a COM, Prospectus, and Prospectus
Supplement that contained fraudulent material misrepresentations and omissions
that PaineWebber Mortgage knew or should have known were fraudulent.

2) PaineWebber Mortgage acted consciously because the same individual bought
and sold the mortgage loans to PaineWebber Mortgage. Thus, the individual
signing for the truth of the representations and warranties regarding the loans also
accepted the loans under the representations and warranties on PaineWebber
Mortgage’s behalf. If not conscious of the falsity of the representations and
watranties, then PaineWebber Mortgage certainly acted with a severe degree of
recklessness in not determining for itself the accuracy of the representations and
warranties, particularly when the same individual signed on behalf of both
entities. Furthermore, PaineWebber Mortgage subsequently sold the Certificates
with the knowledge that the representations made in the COM, Prospectus, and
Prospectus Supplement were false or that they contained material omissions.
Given the interrelationship between PaineWebber Mortgage, PaineWebber Inc.,
and Paine Webber, PaineWebber Mortgage had to know that the mortgage loan
origination files did not contain the most basic evidence of due diligence. Despite
this knowledge, PaineWebber Mortgage made no effort to correct or modify the
representations and warranties in the Mortgage Loan Purchase Agreement, or the

appearance of the representations and warranties as they appeared in the COM,

PLAINTIFF’S AMENDED COMPLAINT -— page 33
Case 2:02-0v-02212ADbocument 4 Filed 12/13/02 P. of 63 PagelD 71

Prospectus, and Prospectus Supplement. PaineWebber Mortgage also made no
effort to correct or modify the representations and warranties in soliciting the
purchase of Certificates through the COM, Prospectus, and Prospectus
Supplement.

3) PaineWebber Mortgage had the motive and opportunity to commit fraud. Its
officer signed the Mortgage Loan Purchase Agreement on behalf of Paine
Webber, even though on information and belief that individual was not an officer
of Paine Webber. By using the same individual to both purchase and sell the
mortgage loans between entities, PaineWebber Mortgage shielded the transaction
from additional scrutiny and thus had the opportunity to commit fraud.
PaineWebber Mortgage also had the opportunity to correct the misrepresentations
and omissions that were made in the Mortgage Loan Purchase Agreement and that
were repeated in the COM, Prospectus, and Prospectus Supplement.
PaineWebber Mortgage was motivated by the opportunity to make and retain a
profit on the sale of the Certificates to PaineWebber Inc. and Merrill Lynch,
Pierce, Fenner & Smith Inc., and also by a desire to assist its affiliate
PaineWebber Inc. in selling the Certificates PaineWebber Inc. owned.

c) Paine Webber acted with the requisite mental state.

1) Paine Webber’s actions were severely reckless because its misrepresentations and
omissions in the Mortgage Loan Purchase Agreement involved an extreme
departure from the standards of ordinary care. As demonstrated above, Paine
Webber failed to perform on-site inspections, evaluate the payment and

operational capabilities of providers, evaluate the financial performance of the

PLAINTIFF’S AMENDED COMPLAINT - page 34
Case 2:02-0v.02212MPbocument 4 Filed 12/13/02 »O- of 63 PagelD 72

property, obtain independent appraisals, perform an engineering study and
environmental review, and otherwise follow its basic underwriting standards,
even though Paine Webber expressly represented in the Mortgage Loan Purchase
Agreement that these guidelines were followed for each loan. These
representations and omissions were carried over to the Certificateholders under
the express language of the Mortgage Loan Purchase Agreement and the
Mortgage Loan Purchase Agreement makes clear that the loans were originated
for the express purpose of being sold to the Trust and securitized, and thus Paine
Webber knew that it intended to induce buyers into purchasing securities, and
thus there was the known or obvious danger of misleading buyers and sellers.
Moreover, it was severely reckless for Paine Webber not to have known that its
misrepresentations and omissions were being repeated in the COM, Prospectus,
and Prospectus Supplement because of the interrelationship between the
companies. It was further severely reckless for Paine Webber to allow an officer
of an affiliated entity to sign the Mortgage Loan Purchase Agreement on its
behalf.

2) Paine Webber was conscious of these misrepresentations because, as the
originator of the loans, it was the creator of the loan files that did not contain the
inspections or borrower evaluations that were represented to exist, and thus knew
of the misrepresentations and omissions that were made as to each loan. Further
evidencing Paine Webber’s consciousness of its misrepresentations and omissions
was its failure to produce loan documents under the Mortgage Loan Purchase

Agreement until it was compelled to do so through litigation, which demonstrates

PLAINTIFF’S AMENDED COMPLAINT -— page 35

 
48.

49.

Case 2:02-0v-02212ADbocument 4 Filed 12/13/02 OD. of 63 PagelD 73

3)

that it knew or should have known of its misrepresentations or omissions and
attempted to conceal them. Further, as detailed above, on information and belief,
Paine Webber participated in creating the Prospectus and Prospectus Supplement
by providing Merrill Lynch Mortgage Investors Inc. with information about the
loans it originated for the loan pool. This demonstrates that Paine Webber acted
with knowledge that Certificates would be purchased based on misrepresentations
and omissions it made in the MLPA that were carried over in the COM,
Prospectus, and Prospectus Supplement.

Paine Webber had the motive and opportunity to commit fraud. It had the
opportunity to correct the misrepresentations and omissions that were made to
purchasers that were repeated in the COM, Prospectus, and Prospectus
Supplement. Paine Webber was motivated by a desire to assist PaineWebber Inc.,
its affiliate and the Certificate owner, in selling the Certificates. Paine Webber
was further motivated by a desire to profit from the sale of its loans to Merrill

Lynch Mortgage Investors Inc.

By way of example of Paine Webber’s faulty underwriting and origination processes, and

not by limitation, PaineWebber Inc., PaineWebber Mortgage, and Paine Webber made

material misrepresentations and omissions regarding loans made to Gateway Factory

Outlet Center, L.P. and to P & D Investments, Inc.

PAINE WEBBER’S LOAN TO GATEWAY FACTORY OUTLET CENTER, L.P.

The Loan Underwriting

Gateway Factory Outlet Center Limited Partnership (““Gateway” or “Borrower”) is a

Washington limited partnership with its registered office in Bellevue, Washington.

PLAINTIFF’S AMENDED COMPLAINT - page 36
50.

51.

52.

53.

54.

55.

Case 2:02-cv.02212 MpPbocument 4 Filed 12/13/02 Pal 7 of 63 PagelD 74

Ward Cook, Inc. (“Ward Cook”) is an Oregon corporation with a principal office in
Portland, Oregon. Among its business lines, Ward Cook originates and securitizes
commercial loans.
On or about August 24, 1998, Ward Cook made a loan in the original principal amount
of $7,725,000 (the “Loan”) to Gateway. As evidence of the indebtedness resulting from
the Loan, Gateway made, executed and delivered to Ward Cook a Deed of Trust Note
(the “Note’’) in the original principal amount of $7,725,000.
The Loan was secured by, inter alia, a Deed of Trust, Security Agreement and
Assignment of Leases and Rents (the “Deed of Trust” or “Mortgage”), dated as of August
24, 1998.
In or about August 1998, Ward Cook assigned the Note, the Deed of Trust and other loan
documents to Paine Webber pursuant to an Assignment of Note, Deed of Trust, Leases
and Rents and Loan documents.

Transfer of the Loan to the Trust
In or about June 1999, PaineWebber Mortgage Acceptance Corporation V agreed to
purchase certain loans Paine Webber originated that conformed to certain criteria
specified in the Mortgage Loan Purchase Agreement. Effective as of June 1, 1999, Paine
Webber transferred the Loan to PaineWebber Mortgage Acceptance Corporation V
pursuant to the Mortgage Loan Purchase Agreement.
The same day and pursuant to the Pooling and Servicing Agreement, PaineWebber
Mortgage, as Depositor, transferred the Loan to LaSalle Bank, N.A. as Trustee for the
Certificateholders of the Trust.

The Failed Loan

PLAINTIFF’S AMENDED COMPLAINT -— page 37
56.

57.

58.

59.

60.

Case 2:02-0v-0221 2. ADbocument 4 Filed 12/13/02 O. of 63 PagelD 75

Lack of Public Utilities at the Peace Arch Factory Outlet
The property used to secure Gateway’s Mortgage is property located in Whatcom
County, Washington, and is known as the Peace Arch Factory Outlet Center — Phase I
(“the Property”), which is where Gateway operates a factory outlet center by leasing
space to retail tenants.
The Property has never been serviced with public water and sewer utility services. The
Property is serviced by a private septic system and a private water well, which is over a
mile from the Property and not owned by Gateway.
Furthermore, Gateway currently has no legal right to enter upon these private lands and
public rights-of-way for purposes of making necessary repairs to the water pipes. As a
result, Gateway would bear the full cost of removing and relocating the waterlines if
mandated by the County to accommodate road widening or other improvements.
On September 9, 1992, Gateway’s principal executed a Declaration of Restrictions and
Grant of Easements for Water System (the “Declaration”). The Declaration refers to
Gateway being able to draw water from a well located on the property. While such a well
exists, it has always been dry, capped, and nonfunctioning. However, the existence of
this well as a functioning source of water was relied upon in the Property survey, title
report, appraisal, and environmental reports issued by Ward Cook’s consultants in
connection with closing the loan.
Ward Cook and Paine Webber had every opportunity to inspect the Property and
determine that a functioning well did not exist. Furthermore, Gateway made Ward Cook

and Paine Webber fully aware of the erroneous claim that a functioning well existed on

PLAINTIFF’S AMENDED COMPLAINT - page 38
61.

Case 3:02-cv-02212 MPbocument 4 Filed 12/13/02 Pal 9 of 63 PagelD 76

the Property. Despite this knowledge, the documentation prepared in conjunction with

the loan continued to reference the existence of a functioning well on the Property.

These events ran contrary to Paine Webber’s, PaineWebber Inc.’s, and PaineWebber

Mortgage’s representations and/or constituted omissions of material facts necessary in

order to make the statements made, in light of the circumstances in which they were

made, not misleading. The following misrepresentations and omissions were made by

Paine Webber in the Mortgage Loan Purchase Agreement and adopted by PaineWebber

Inc. and PaineWebber Mortgage in the COM, Prospectus, and Prospectus Supplement.

Specifically:

a.

PaineWebber Inc., Paine Webber Mortgage, and Paine Webber represented that no
covenants, conditions and restrictions, rights of way, easements or other matters
of public record, individually or in the aggregate, materially interfered with the
use of the Property or the security intended to be provided by Gateway or with the
Gateway’s ability to pay its obligations when they become due or the value of the
Property.

PaineWebber Inc., PaineWebber Mortgage, and Paine Webber represented that
the terms of the loan documents complied in all material respects with all
requirements of applicable local, state or federal law.

PaineWebber Inc., PaineWebber Mortgage, and Paine Webber represented that
based upon a site inspection conducted in connection with the origination of the
Loan and a review of the related engineering report, the Property is free and clear
of any material damage that would affect materially and adversely the value of the

Property as security for the Loan.

PLAINTIFF’S AMENDED COMPLAINT — page 39
Case 3:02-0v-02212 MBDbocumen 4 Filed 12/13/02 BO. of 63 PagelD 77

d.

PaineWebber Inc., PaineWebber Mortgage, and Paine Webber represented that
the improvements located on or forming part of the Property complied with
applicable zoning and building laws, ordinances and regulations, or if such
improvement did not so comply, such non-compliance did not materially and
adversely affect the value of the Property.

PaineWebber Inc., PaineWebber Mortgage, and Paine Webber represented that
the appraisal and appraiser both satisfied the requirements of the Uniform
Standard of Professional Appraisal Practice as adopted by the Appraisal Standards
Board of the Appraisal Foundation, all as in effect on the date the Loan was

originated.

62. Paine Webber not only failed to disclose material facts about the Property, but sought to

cover them up by making representations and warranties in the MLPA that:

a.

‘(A) Neither the Mortgage Loan Seller, nor, to the Mortgage Loan Seller’s best
knowledge, (1) any originator other than the Mortgage Loan Seller or (2) the
Mortgagor, committed any fraudulent acts during the orientation process of any
Mortgage Loan, ... and (C) to the best of the Mortgage Loan Seller’s knowledge,
(1) the origination of each Mortgage Loan purchased by the Mortgage Loan Seller
and (2) the servicing and collection of each Mortgage Loan is in all material
respects legal, proper and prudent in accordance with customary industry
standards utilized by prudent institutional and commercial mortgage lenders or
loan servicers as appropriate.” See MLPA 3.2(b)(iii);

“There is no material default, breach, violation or event of acceleration existing

under the related Mortgage or Mortgage Note, and to the Mortgage Loan Seller’s

PLAINTIFF’S AMENDED COMPLAINT - page 40
63.

64.

65.

Case 3:02-cv.0221 2 Mbocument 4 Filed 12/13/02 Pa 1of63 PagelD 78

knowledge, there is no event ... which, with the passage of time or with notice

and the expiration of any grace or cure period, would constitute such a default,

breach, violation or event of acceleration.” See MLPA 3.2(b)(vi);
The facts PaineWebber Inc., PaineWebber Mortgage, and Paine Webber misrepresented
and/or omitted were material in that: (1) they demonstrated the Borrower’s financial
instability and eventual inability to make payments on the Loan and otherwise comply
with the terms of the Deed of Trust; (2) as a result the Deed of Trust eventually went
unpaid and was subject to default; and (3) the Property securing the Deed of Trust was
overvalued, or jeopardized and devalued.

The Property’s Pre-Existing Conditions and Unstable Economics
During the loan origination process, and immediately thereafter, pre-existing conditions
and events well-known to Ward Cook and Paine Webber indicated that the Property
could not produce income sufficient to timely pay off the mortgage. These pre-existing
conditions and events included: (a) the potential costs to the Property of not having all
private easements and a permanent, irrevocable easement with the County right-of-way
for the private water transmission lines, (b) the impact of declining tenant sales (based
largely on the significant deterioration of the Canadian currency), (c) the impact of
month-to-month leases or leases with maturities of less than 18 months, (d) the impact of
rental rate discounting to allow for concessions, tenant improvements and tenant expense
caps, and (e) media (national and local) reports on the poor performance of outlet centers,
which posed a higher risk profile.
These conditions and events did not occur overnight, but instead were either pre-existing

or resulted from prolonged economic forces pre-dating the June 1999 COM, Prospectus,

PLAINTIFF’S AMENDED COMPLAINT — page 41
Case 2:02-0y.02212 MBbocument 4 Filed 12/13/02 m of 63 PagelD 79

and Prospectus Supplement. These conditions would have been discovered through

properly conducted underwriting in connection with the origination of the Mortgage

Loan. Despite these pre-existing conditions and events, Paine Webber warranted and

represented that:

a. “The Mortgage Loan Seller has not withheld any material information with
respect to the Mortgage File,’ See MLPA 3.2(a)(v);

b. “The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2(b)(11);

c. “With respect to each Mortgage Loan originated by a correspondent of the [Paine
Webber] and purchased or ‘table funded’ by [Paine Webber] in connection with a
correspondent relationship with such originator ... (A) such Mortgage Loan was
underwritten substantially in accordance with standards established by [Paine
Webber], (which standards are in all material respects the same as the
underwriting standards for Mortgage Loans originated by [Paine Webber]); ... (C)
the closing documents (which include assignment documents executed by the
Mortgage Loan originator in favor of [Paine Webber]) for the Mortgage Loan
were prepared in substantial compliance with forms approved by [Paine Webber]
as the successor and assign to the Mortgage Loan originator.” See MLPA
3.2(b)(Ivi); and

d. Each Mortgage Loan originated by [Paine Webber] was underwritten consistent in
all material respects with the standards of [Paine Webber] as then in effect and

each Mortgage Loan purchased by [Paine Webber] from a third-party originator

PLAINTIFF’S AMENDED COMPLAINT -— page 42
Case 2:02-0v-02212 MBbocument 4 Filed 12/13/02 oe. of 63 PagelD 80

was underwritten consistent in all material respects with prudent commercial
mortgage conduit lending standards.” See MLPA 3.2(b)(Ivii).

66. Paine Webber, PaineWebber Inc., and PaineWebber Mortgage failed to disclose the
correct facts in the COM, Prospectus, or Prospectus Supplement.

67. The facts PaineWebber Inc., PaineWebber Mortgage, and Paine Webber misrepresented
and/or omitted were material in that: (1) they demonstrated the Borrower’s financial
instability and eventual inability to make payments on the Loan and otherwise comply
with the terms of the Deed of Trust; (2) as a result the Deed of Trust eventually went
unpaid and was subject to default; and (3) the Property securing the Deed of Trust was
overvalued, jeopardized, and devalued.

PAINE WEBBER’S LOAN TO P & D INVESTMENTS, INC.
The Loan Underwriting

68. P & D Investments, Inc. (“P & D” or the “Borrower’) is a North Carolina corporation
with its registered office in Charlotte, North Carolina.

69. On or about July 7, 1998, Paine Webber made a loan in the original principal amount of
$1,600,000 (the “Loan’”) to P & D. As evidence of the indebtedness resulting from the
Loan, P & D made, executed and delivered to Paine Webber a Mortgage Note (the
“Note”) in the original principal amount of $1,600,000.

70. The Loan was secured by, inter alia, a Deed of Trust, Security Agreement and
Assignment of Leases and Rents (the “Deed of Trust” or “Mortgage’”), dated as of July 7,
1998.

Transfer of the Loan to the Trust

PLAINTIFF’S AMENDED COMPLAINT -— page 43
71.

72.

73.

74.

Case 2:02-0v-0221.Mbocument 4 Filed 12/13/02 AB. of 63 PagelD 81

In or about June 1999, PaineWebber Mortgage agreed to purchase certain loans Paine

Webber originated that conformed to certain criteria specified in the Mortgage Loan

Purchase Agreement. Effective as of June 1, 1999, Paine Webber transferred the Loan to

PaineWebber Mortgage pursuant to the Mortgage Loan Purchase Agreement.

The same day and pursuant to the Pooling and Servicing Agreement, PaineWebber

Mortgage, as Depositor, transferred the Loan to LaSalle Bank, N.A. as Trustee for the

Certificateholders of the Trust.

The Failed Loan
Villager Lodge: the “Haven of Illegal Activity”

The property securing P & D’s Mortgage is located in Mecklenburg County, North

Carolina known as the Villager Lodge (‘the Property’), which is where P & D operates a

110-resident motel by renting rooms on a daily and weekly basis.

Beginning as early as January 1997, the Property was subject to repeated breaches of the

peace including:

a. The Charlotte-Mecklenburg Police Department (the “Police”’) receiving a total of
1,328 calls to the property from January 1997 to April 2000;

b. Police officers taking 1,204 miscellaneous reports for incidents that occurred at
the property from January 1997 to April 2000;

C. From January 1997 to March 2000, Police officers taking 186 offense reports that
included, but were not limited to, homicide, armed robbery, robbery, assault, and
numerous property crimes;

d. From January 1997 to March 2000, Police officers making 204 arrests for

incidents that included, but were not limited to, homicide, armed robbery,

PLAINTIFF’S AMENDED COMPLAINT - page 44
75.

76.

77.

Case 3:02-0v-02212 MBbocument 4 Filed 12/13/02 oO. of 63 PagelD 82

aggravated assault, weapons violations, controlled substance violations,
prostitution, and sex offenses;

e. Medic personnel responding to 192 calls for service for incidents including
gunshot wounds, lacerations from assaults, drug overdoses, and
psychiatric/suicide attempts from September 1997 to February 2000.

Over this same time period, the Property acquired a reputation in both the law

enforcement community and the City of Charlotte in general as a marketplace for the

illegal sale and possession of controlled substances and as a haven for criminal activity
associated with the illegal sale and possession of controlled substances. In addition, prior
to April 2000, P & D received written notice from the City of Charlotte that a nuisance

was being maintained on the Property based on at least two prior occurrences within a

five year period that involved the possession of a controlled substance with the intent to

sell or the sale of controlled substances.

The culmination of these illegal activities prompted the City of Charlotte to file a

complaint against Paine Webber and P & D in June 2000 alleging violations of North

Carolina’s nuisance statute and seeking a forfeiture of the Property.

These events ran contrary to Paine Webber’s, PaineWebber Inc.’s, and PaineWebber

Mortgage’s representations and/or constituted omissions of material facts necessary in

order to make the statements made, in light of the circumstances in which they were

made, not misleading. The following misrepresentations and omissions were made by

Paine Webber in the Mortgage Loan Purchase Agreement and adopted by PaineWebber

Inc. and PaineWebber Mortgage in the COM, Prospectus, and Prospectus Supplement.

Specifically:

PLAINTIFF’S AMENDED COMPLAINT - page 45
Case 2:02-0v-02212 Document 4 Filed 12/13/02 7S. of 63 PagelD 83

a. Paine Webber, PaineWebber Inc., and PaineWebber Mortgage represented that
there was no event which with the passage of time or with notice and the
expiration of any grace or cure period, would constitute a material default, breach,
violation or event of acceleration.

b. Paine Webber, PaineWebber Inc., and PaineWebber Mortgage represented that, as
of the Closing Date, there was no pending action, suit or proceeding, arbitration or
governmental investigation against P & D or the Property, an adverse outcome of
which would materially and adversely affect such P & D’s ability to perform
under the Loan.

c. Paine Webber, PaineWebber Inc., and PaineWebber Mortgage represented that,
based upon site inspection conducted in connection with the origination of the
Loan and a review of the related engineering report, the Property was free and
clear of any material damage that would affect materially and adversely the value
of such the Property as security for the Loan.

d. Paine Webber, PaineWebber Inc., and PaineWebber Mortgage represented that
the improvements located on or forming part of the Property complied with
applicable zoning and building laws, ordinances and regulations, or if any such
improvement did not so comply, such non-compliance did not materially and
adversely affect the value of the Property.

78. Furthermore, Paine Webber not only failed to disclose material facts about the Property,
but sought to cover them up by making representations and warranties in the Mortgage

Loan Purchase Agreement that:

PLAINTIFF’S AMENDED COMPLAINT -— page 46
79.

80.

Case 2:02-0v-02212 MDbocument 4 Filed 12/13/02 BO. of 63 PagelD 84

“The Mortgage Loan Seller has not withheld any material information with
respect to the Mortgage File;’” See MLPA 3.2(a)(v);

“The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2(b)(ii);

“The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2(b)(xxvi); and

‘Each Mortgage Loan originated by [Paine Webber] was underwritten consistent
in all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial

mortgage conduit lending standards.” See MLPA 3.2(b)(Ivii).

The facts Paine Webber, PaineWebber Inc., and PaineWebber Mortgage misrepresented
and/or omitted were material in that: (1) they demonstrated the Borrower’s financial
instability and eventual inability to make payments on the Loan and otherwise comply
with the terms of the Deed of Trust; (2) as a result the Deed of Trust eventually went
unpaid and was subject to default; and (3) the Property securing the Deed of Trust was

jeopardized and devalued.

The Property’s Deteriorating Condition

Moreover, financial reports and loan files for the Property indicate that almost all of the

revenue collected at the Property was in the form of cash. A proper site inspection by

PLAINTIFF’S AMENDED COMPLAINT — page 47

 
81.

82.

83.

84.

85.

Case 3.02-0v.0221 MBbocument 4 Filed 12/13/02 oO. of 63 PagelD 85

Paine Webber would have revealed the alarming rate of crime at the Property and the
high-risk nature of the pure cash based revenue.

Once the City of Charlotte intervened and disallowed criminals, prostitutes, and drug
addicts/dealers from being guests, the occupancy rates at the Property dropped
considerably causing the Loan to enter into monetary default.

In addition, during the loan origination process Paine Webber identified that the Property
was located in a “blighted area” and contained several deferred maintenance issues that
needed to be addressed immediately because the Property had not undergone any
significant rehabilitation or renovation since it was built in 1958.

However, records indicate that instead of making immediate and necessary maintenance
Paine Webber demanded that the inspecting engineer revise the estimates for the deferred
maintenance reserve by roughly $90,000.00.

Paine Webber’s demand for a revised appraisal ran contrary to Paine Webber’s
representation that: “[T]he appraisal and appraiser both satisfy the requirements of the
‘Uniform Standard of Professional Appraisal Practice’ as adopted by the Appraisal
Standards Board of the Appraisal Foundation, all as in effect on the date the Mortgage
Loan was originated. See MLPA 3.2(b)(1).

Furthermore, Paine Webber not only failed to disclose material facts about the Property,
but sought to cover them up by making representations and warranties in the Mortgage
Loan Purchase Agreement that:

a. “The Mortgage Loan Seller has not withheld any material information with

respect to the Mortgage File; See MLPA 3.2(a)(v);

PLAINTIFF’S AMENDED COMPLAINT — page 48
86.

87.

Case 2:02-0v-02212 Document 4 Filed 12/13/02 AD. of 63 PagelD 86

“The Mortgage Loan Seller has no knowledge that the material representations
and warranties made by the Mortgagor in each Mortgage Loan are not true in any
material respect.” See MLPA 3.2(b)(ii);

“The terms of each of the Mortgage Loan Documents comply in all material
respects with all requirements of applicable local, state or federal law.” See
MLPA 3.2(b)(xxvi); and

“Each Mortgage Loan originated by [Paine Webber] was underwritten consistent
in all material respects with the standards of [Paine Webber] as then in effect and
each Mortgage Loan purchased by [Paine Webber] from a third-party originator
was underwritten consistent in all material respects with prudent commercial

mortgage conduit lending standards.” See MLPA 3.2(b)(Ivii).

Paine Webber, PaineWebber Inc., and PaineWebber Mortgage failed to disclose the
correct facts in the COM, Prospectus, or Prospectus Supplement.

The facts Paine Webber, PaineWebber Inc., and PaineWebber Mortgage misrepresented
and/or omitted were material in that: (1) they demonstrated the Borrower’s financial
instability and eventual inability to make payments on the Loan and otherwise comply
with the terms of the Deed of Trust; (2) as a result the Deed of Trust eventually went
unpaid and was subject to default; and (3) the Property securing the Deed of Trust was

jeopardized and devalued.

PLAINTIFF’S AMENDED COMPLAINT - page 49
88.

89.

90.

Case 2:02-0v-02212.Dbocument 4 Filed 12/13/02 O, of 63 PagelD 87

PLAINTIFF’S CAUSES OF ACTION

FIRST CAUSE OF ACTION
Exchange Act § 10(b) (15 U.S.C. § 78j) and Rule 10b-5 (17 C.F.R. § 240.10b-5)

Plaintiff incorporates by reference the Amended Complaint’s preceding paragraphs.
Defendants used an instrumentality of interstate commerce in connection with the
dissemination of the false statements specified above or approved such false statements
knowing that they would be disseminated to the public and purchasers of Certificates.
Defendants knew or recklessly disregarded that the false statements specified above were
misleading in that they contained material misrepresentations and failed to disclose
material facts necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading.

Paine Webber in the MLPA and PaineWebber Inc. in the COM, Prospectus, and
Prospectus Supplement violated section 10(b) of the 1934 Act and Rule 10b-5 in that
they: (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements
of material facts or omitted to state material facts that were necessary in order to make
the statements made, in light of the circumstances under which they were made, not
misleading; and (c) engaged in acts, practices, and a course of business that operated as a
fraud or deceit upon Plaintiff and others similarly situated in connection with their
purchases of the Certificates during the Class Period. Specifically, the Prospectus and the
Prospectus Supplement misrepresented those items set forth in this Amended Complaint
under the headings “The Misrepresentations in Offering Materials’ and
‘“Misrepresentations in the Mortgage Loan Purchase Agreement Incorporated into the
Offering Materials.” The specific loan transactions detailed in this Amended Complaint

provide specific examples of the falsity of those representations and the materiality of the

PLAINTIFF’S AMENDED COMPLAINT -— page 50
91.

92.

93.

Case 2:02-0v-02212 MDbocument 4 Filed 12/13/02 oO of 63 PagelD 88

facts misrepresented or omitted. Furthermore, Defendants failed to state that Paine
Webber’s representations and warranties were knowingly false, in that Paine Webber sold
the Trust a loan pool containing loans that it knew did not meet the representations and
watranties, or that Paine Webber had a pattern and practice of failing to follow the very
underwriting guidelines that it warranted it had followed as to individual loans.

Thus, Defendants made the misrepresentations and omissions knowingly, or with reckless
disregard for their truth or falsity.

Plaintiff and the Certificateholders justifiably relied on Defendants’ misrepresentations
and omissions. Indeed, the only tool available for evaluating the loan pool is the
representations and warranties and the other information set forth in the Prospectus and
Prospectus Supplement. Plaintiff and the Certificateholders would not have purchased
their certificates had they known that Defendants lied about the quality of the loans in the
pool, and placed loans in the pool that Defendants knew did not meet the representations
and warranties and failed to disclose their pattern and practice of failing to follow proper
underwriting guidelines.

The issuance and pricing of the Certificates depended upon the representations by the
Depositor of the loans that they were of a particular quality. To the extent that the COM,
Prospectus, and Prospectus Supplement misrepresented the quality of a material loan or
loans or contained material omissions, such misrepresentations or omissions affected the
overall pool of loans and the attendant artificially inflated pricing of the Certificates and,
in fact, without the misrepresentations and omissions made by Defendants the defective
loans would not have been included in the pool, thus resulting in a lower price for the

Certificates. Alternatively, without the misrepresentations and omissions, the Trust

PLAINTIFF’S AMENDED COMPLAINT - page 51
94.

95.

96.

97.

98.

Case 3:02-0v.02212 MBbocument 4 Filed 12/13/02 a. of 63 PagelD 89

would never have been formed and there would never have been any issuance of the
Certificates. Thus, all purchasers of Certificates suffered a similar injury through their
purchase of Certificates at artificially inflated prices due to Defendants’
misrepresentations and omissions, and a presumption of reliance applies.

Additionally, the improperly underwritten loans in the pool have resulted in decreased
cash flow and increased costs that have resulted in ORIX and other Class Members
suffering a loss in the stream of income they purchased via the Certificates. Such
reduced income has caused the value of the Certificates to decline, thus damaging the
Class.

As a direct and proximate result of such wrongful conduct, the Plaintiff and other
members of the Class were damaged in connection with their purchase of Certificates
during the Class Period by paying artificially and falsely inflated prices for the
Certificates. Plaintiff, the Trust, and the other Certificateholders suffered damage as a
direct and proximate result of Defendants’ wrongful conduct in that the Trust and
Certificateholders have experienced a decline in payments and increased costs.

By reason of the foregoing, the Defendants violated Exchange Act § 10(b), 15 U.S.C. §
78j(b), and SEC Rule 10b-5 promulgated pursuant thereto, and are accordingly liable.

SECOND CAUSE OF ACTION
Violation of Exchange Act § 20(a) (15 U.S.C. § 78t)

Plaintiff incorporates by reference the Amended Complaint’s preceding paragraphs.

PaineWebber Inc., Paine Webber, and Paine Webber Mortgage were all affiliates that had
the specific purpose of carrying out this and similar transactions. They each shared
information and employees with the others. Furthermore, an officer of PaineWebber Inc.

and PaineWebber Mortgage signed the Mortgage Loan Purchase Agreement on behalf of

PLAINTIFF’S AMENDED COMPLAINT — page 52
99.

100.

Case 2:02-0v-02212 @Dbocument 4 Filed 12/13/02 Oe. of 63 PagelD 90

Paine Webber. PaineWebber Inc. and PaineWebber Mortgage received and publicized
through the COM, Prospectus, and Prospectus Supplement, information they knew or
should have known to be false, specifically: the representations and warranties,
information regarding Paine Webber's loan origination, underwriting, and servicing, and
information regarding the Paine Webber-originated, underwritten, and serviced loan pool.
PaineWebber Inc., by virtue of its position, participated in and exercised control over
Paine Webber and PaineWebber Mortgage. PaineWebber Inc.'s officers sat as officers in
PaineWebber Mortgage and Paine Webber. As such, PaineWebber Inc. had the power
and ability to control and direct the acts and conduct complained of in this Amended
Complaint and PaineWebber Inc. was aware of the omissions and misrepresentations in
the COM, Prospectus, and Prospectus Supplement. At all relevant times, PaineWebber
Inc. had the power and influence to control Paine Webber and PaineWebber Mortgage.
Indeed, an officer of PaineWebber Inc. signed the Mortgage Loan Purchase Agreement
on behalf of both PaineWebber Mortgage as purchaser and Paine Webber as seller. Thus,
PaineWebber Inc. directly and/or indirectly controlled Paine Webber and PaineWebber
Mortgage, who are each liable under section 10(b) and Rule 10b-5 of the 1934 Act.

PaineWebber Mortgage, by virtue of its position, participated in and exercised control
over Paine Webber and PaineWebber Inc. PaineWebber Mortgage's officers sat as
officers in PaineWebber Inc. and Paine Webber. As such, PaineWebber Mortgage had
the power and ability to control and direct the acts and conduct complained of in this
Amended Complaint and PaineWebber Mortgage was aware of the omissions and
misrepresentations in the COM, Prospectus, and Prospectus Supplement. At all relevant

times, PaineWebber Mortgage had the power and influence to control Paine Webber and

PLAINTIFF’S AMENDED COMPLAINT - page 53
Case 3.02-0v.02212 MDbocumen 4 Filed 12/13/02 x J of 63 PagelD 91

PaineWebber Inc. Indeed, an officer of PaineWebber Mortgage signed the Mortgage
Loan Purchase Agreement on behalf of both PaineWebber Mortgage as purchaser and
Paine Webber as seller. Thus, PaineWebber Mortgage directly and/or indirectly
controlled Paine Webber and PaineWebber Inc., who are each liable under section 10(b)
and Rule 10b-5 of the 1934 Act.

101. Paine Webber, by virtue of its position, participated in and exercised control over
PaineWebber Mortgage and PaineWebber Inc. Paine Webber's officers sat as officers in
PaineWebber Inc. and PaineWebber Mortgage. As such, Paine Webber had the power
and ability to control and direct the acts and conduct complained of in this Amended
Complaint and Paine Webber was aware of the omissions and misrepresentations in the
COM, Prospectus, and Prospectus Supplement. At all relevant times, Paine Webber had
the power and influence to control PaineWebber Mortgage and PaineWebber Inc.
Furthermore, Paine Webber knew of its origination, underwriting, and servicing practices
and the quality of the loans it sold to PaineWebber Mortgage. PaineWebber Mortgage
and PaineWebber Inc. repeated in the COM, Prospectus, and Prospectus Supplement the
information Paine Webber supplied regarding Paine Webber's origination, underwriting,
and servicing practices and the information Paine Webber supplied regarding the quality
of the loans Paine Webber sold to PaineWebber Mortgage. Thus, Paine Webber directly
and/or indirectly controlled PaineWebber Mortgage and PaineWebber Inc., who are each
liable under section 10(b) and Rule 10b-5 of the 1934 Act.

102. PaineWebber Mortgage, PaineWebber Inc., and Paine Webber, as control persons

pursuant to Section 20(a) of the 1934 Act, further are jointly and severally liable with

PLAINTIFF’?S AMENDED COMPLAINT — page 54
Case 2:02-0v-0221 Document 4 Filed 12/13/02 OO. of 63 PagelD 92

PaineWebber Mortgage to the Plaintiff and other Class Members for violation of the
1934 Act to the full extent.

103. As a result, Plaintiff and other Class Members are entitled to recover from said
Defendants, including Defendant UBS Warburg to the extent it succeeded to the liability
any Defendants, the full amount for all damages to be established at trial.

THIRD CAUSE OF ACTION
Violation of Securities Act § 12(a)(2) (15 U.S.C. § 77D)

104. Plaintiff incorporates by reference the Amended Complaint’s preceding paragraphs.

105. Paine Webber, PaineWebber Mortgage, and PaineWebber Inc. offered or sold the
certificates via interstate delivery services and United States mail. PaineWebber, Inc.
sold the Certificates, by means of the false and misleading Prospectus and Prospectus
Supplement. Paine Webber, PaineWebber Mortgage, and PaineWebber, Inc. are “sellers”
within the meaning of the Securities Act because they (i) transferred title to members of
the Class; (ii) transferred title to the Certificates to other underwriters and/or
broker/dealers that sold the Certificates as agents for PaineWebber, Inc.; or (iii) solicited
the purchase of the Certificates by the Class Members, motivated at least in part by their
own financial interests. Such solicitation included participation in the preparation of the
false and misleading Offering Documents.

106. Plaintiff and the Class Members purchased the Certificates pursuant to the Offering
Documents.

107. Plaintiff and the Class Members did not know all of the materially false and misleading
statements and material omissions in the Offering Documents, and in the exercise of

reasonable care could not have known about them.

PLAINTIFF’S AMENDED COMPLAINT — page 55
112.

113.

114.

115.

116.

117.

Case 2:02-0v-02212 Document 4 Filed 12/13/02 ©. of 63 PagelD 93

Certificates from Paine Webber, Inc. for actual damages or rescission and the return of
the purchase price of the Certificates. To the extent UBS Warburg succeeded to the
liability of PaineWebber, Inc., it is liable to Plaintiff and all Class Members.

FOURTH CAUSE OF ACTION
Securities Act § 11 (15 U.S.C. § 77k)

Plaintiff incorporates by reference the Amended Complaint’s preceding paragraphs.
PaineWebber Inc. was an underwriter with respect to the Certificates.

The registration statement, filed with the Securities and Exchange Commission on
September 29, 1998, incorporated the Prospectus and Prospectus Supplement. As set
forth with particularity above, the Prospectus and Prospectus Supplement contained
untrue statements of material facts or omitted to state material facts required to be stated
therein or necessary to make the statements therein not misleading. ORIX brings this
claim on behalf of those Certificateholders who purchased Certificates offered under the
registration statement identified below.

Paine Webber is name in the registration statement as having prepared or certified parts
of same, or as having prepared or certified a report or valuation that was used in
connection with same, which statements, reports, or valuations contained
misrepresentations and omissions as set forth above.

As a direct and proximate result of PaineWebber Inc.’s wrongful conduct, the Plaintiff
and other members of the Class were damaged in connection with their purchase of
Certificates during the Class Period.

By reason of the foregoing, PaineWebber Inc. violated Securities Act § 11, 15 U.S.C. §

77k, and is accordingly liable to Plaintiff and all Class Members who purchased

PLAINTIFF’S AMENDED COMPLAINT -— page 57
Case 5:02-01-02212MBbocument 4 Filed 12/13/02 OO. of 63 PagelD 94

108. The Prospectus and Prospectus Supplement included untrue statements of material fact,
or omitted to state facts necessary in order to make the statements, in light of the
circumstances under which they were made, not misleading. Specifically, the Prospectus
and the Prospectus Supplement misrepresented those items set forth in this Amended
Complaint under the headings “The Misrepresentations in Offering Materials” and
“Misrepresentations in the Mortgage Loan Purchase Agreement Incorporated into the
Offering Materials.” The specific loan transactions detailed in this Complaint provide
specific examples of the falsity of those representations and their materiality.

109. Although Plaintiff and other Class Members received the COM in connection with their
purchase of the Certificates, the Prospectus and Prospectus Supplement accompanied the
COM, and the COM states that “[p]Jurchasers should examine all information set forth in
this memorandum, including the prospectus supplement and the prospectus, copies of
which are attached hereto as Exhibit B.”. See COM at 2. Furthermore, the COM notes
that “[i]n the case of any discrepancy between this Memorandum or the Prospectus
Supplement...the Prospectus Supplement...shall govern,” indicating that the latter was
the actual operative offering document. See COM at 2. Thus, Defendants marketed and
sold to prospective investors the Certificates as part of a coordinated integrated “public”
offering of securities for purposes of Section 12 of the Securities Act.

110. Asa direct and proximate result of Defendant’s wrongful conduct in violation of section
12(a)(2), the Plaintiff and other Class Members were damaged in connection with their
purchase of Certificates during the Class Period.

111. By reason of the foregoing, PaineWebber Inc. violated Securities Act § 12(a)(2), 15

U.S.C. § 771, and is accordingly liable to Plaintiff and all Class Members who purchased

PLAINTIFF’S AMENDED COMPLAINT -— page 56
Case 2:02-0v.02212MBbocument 4 Filed 12/13/02 . of 63 PagelD 95

Certificates from PaineWebber Inc. To the extent UBS Warburg succeeded to the
liability of PaineWebber, Inc., it is liable to Plaintiff and all Class Members.

FIFTH CAUSE OF ACTION
Securities Act § 15 (15 U.S.C. § 770)

118. Plaintiff incorporates by reference the Amended Complaint’s preceding paragraphs.

119. As set forth above, Paine Webber, PaineWebber, Inc., PaineWebber Mortgage and
Merrill Lynch committed underlying primary violations of the Securities Act.

120. Paine Webber, PaineWebber, Inc., and PaineWebber Mortgage controlled Merrill Lynch
by actually participating in Merrill Lynch’s operations, specifically Merrill Lynch’s
preparation of the COM, Prospectus, and Prospectus Supplement, and the marketing and
sale of the Certificates. Paine Webber, PaineWebber, Inc. and PaineWebber Mortgage
possessed the power to control the specific transaction upon which Merrill Lynch’s
violation is predicated by having exclusive access to the following information, which is
set forth with specificity above: the representations and warranties contained in the
Mortgage Loan Purchase Agreement, information regarding Paine Webber’s loan
origination, underwriting, and servicing, and information regarding the Paine Webber-
originated, underwritten, and serviced loan pool. Paine Webber, PaineWebber, Inc., and
PaineWebber Mortgage, by virtue of their positions, participated in and exercised control
over Merrill Lynch and had the power and ability to control and direct the acts and
conduct complained of in this Amended Complaint and were aware of the omissions and
misrepresentations in the COM, Prospectus, and Prospectus Supplement. At all relevant
times, Paine Webber, PaineWebber, Inc., and PaineWebber Mortgage had the power and
influence to control Merrill Lynch. By failing to take this action to correct the conduct

and misstatements of Merrill Lynch, Defendants Paine Webber, PaineWebber, Inc., and

PLAINTIFF’S AMENDED COMPLAINT - page 58

 
Case 2:02-cv.02212Mbocument 4 Filed 12/13/02 »P.. of 63 PagelD 96

PaineWebber Mortgage assisted and participated in the fraud complained of in this
Amended Complaint.

121. Similarly, by virtue of providing information for the COM, Prospectus, and Prospectus
Supplement that was uniquely in its control, Paine Webber influenced and controlled the
conduct of PaineWebber Inc., PaineWebber Mortgage, and Merrill Lynch. Specifically,
Paine Webber provided PaineWebber Inc., PaineWebber Mortgage, and Mernill Lynch
the following information, which is set forth with specificity above: the representations
and warranties, information regarding Paine Webber’s loan origination, underwriting, and
servicing, and information regarding the Paine Webber-originated, underwritten, and
serviced loan pool. Paine Webber by virtue of its position, participated in and exercised
control over PaineWebber Inc., PaineWebber Mortgage, and Merrill Lynch and had the
power and ability to control and direct the acts and conduct complained of in this
Amended Complaint and was aware of the omissions and misrepresentations in the
COM, Prospectus, and Prospectus Supplement. At all relevant times, Paine Webber had
the power and influence to control PaineWebber Inc., PaineWebber Mortgage, and
Merrill Lynch. By failing to take this action to correct the conduct and misstatements of
PaineWebber Inc., PaineWebber Mortgage, and Merrill Lynch, Paine Webber assisted
and participated in the fraud complained of in this Amended Complaint.

122. Defendants, as control persons pursuant to Section 15 of the 1933 Act, further are jointly
and severally liable to the Plaintiff and other Class Members for violation of the 1933 Act
to the full extent.

123. Asaresult, Plaintiff and other Class Members are entitled to recover from Defendants the

full amount for all damages to be established at trial.

PLAINTIFF’S AMENDED COMPLAINT — page 59
Case 3:02-0v-02212 MDbocument 4 Filed 12/13/02 Bo of 63 PagelD 97

REQUEST FOR RELIEF

Wherefore, Plaintiff prays that Defendants be cited to appear and answer, and that

Plaintiff, upon hearing, have judgment against Defendants as follows:

1.

For rescission of Plaintiff's and other Class Members’ investment in the Certificates or,
alternatively, for actual damages at least in the amount of $616,668,000.

For Plaintiff’s reasonable attorneys’ fees and costs from this action.

For all interest as determined by applicable law.

For all costs of Court and suit.

For any other relief to which Plaintiff is entitled.

PLAINTIFF DEMANDS A TRIAL BY JURY.

Dated: December 13, 2002.

627422

Respectfully submitted,

AKIN GUMP STRAUSS HAUER & FELD, LLP

By: DW so L. O nur —

R. Laurence Macon

Texas State Bar No. 12787500
Mary L. O’Connor

Texas State Bar No. 15186900
Talcott J. Franklin

Texas State Bar No. 24010629
1700 Pacific Avenue, Suite 4100
Dallas, Texas 75201

Telephone (214) 969-2800
Facsimile (214) 969-4343

Attorneys for the Plaintiff:

ORIX CAPITAL MARKETS, L.L.C.

PLAINTIFF’S AMENDED COMPLAINT - page 60
Case 2:02-cv.02212Mabocument 4 Filed 12/13/02 Pa 1of63 PagelD 98

CERTIFICATE OF SERVICE

I hereby certify that on the 13th day of December, 2002, a true and correct copy of the
foregoing was served by hand delivery and First Class Mail on the following counsel of record
for defendants:

Scott L. Davis

Gardere Wynne Sewell LLP
3000 Thanksgiving Tower
1601 Elm Street

Dallas, TX 75201

A.B. Conant, Jr.

Conant French & Chaney, LLP
3880 Bank One Center

1717 Main Street

Dallas, TX 75201

and by facsimile and certified mail, return receipt requested to:
George Wailand
Cahill Gordon & Reindel

Eighty Pine Street
New York, NY 10005

OW tig & O lbh —
NX 0

PLAINTIFF’S AMENDED COMPLAINT - page 61
Case :02-0v-0221 MBPbocument 4 Filed 12/13/02 ®.. of 63 PagelD 99

CERTIFICATION OF NAMED PLAINTIFF
PURSUANT TO FEDERAL SECURITIES LAWS

ORIX Capital Markets, L.L.C. (“Plaintiff”) declares:

1. Plaintiff has reviewed a complaint and authorized its filing.

2. Plaintiff did not purchase the security that is the subject of this action at the
direction of plaintiff's counsel or in order to participate in this private action or any other
litigation under the federal securities laws.

3. Plaintiff is willing to serve as a representative party on behalf of the class,
including providing testimony at deposition and trial, if necessary.

4. Plaintiff has made no transaction(s) during the Class Period in the debt or equity

securities that are the subject of this action except those set forth below:

PURCHASES

Security Transaction Date Price Par Amount Purchased
PMAC 1999-C1 Class E Buy 06/07/99 90.09375 8,809,000.00
PMAC 1999-C1 Class F Buy 06/07/99 67.87500 11,858,000.00
PMAC 1999-C1 Class F Buy 06/07/99 68.46094 23,380,000.00
PMAC 1999-C1 Class G Buy 06/07/99 52.35938 24,666,000.00
PMAC 1999-C]1 Class H Buy 06/07/99 38.66709 7,400,000.00
PMAC 1999-Cl1 Class I Buy 06/07/99 26.68156 11,983,602.00
PMAC 1999-C1 Class E Buy 12/07/00 66.63000 5,845,000.00
PMAC 1999-C1 Class E Buy 12/07/00 62.78250 2,964,000.00

SALES

Security Transaction Date Price Par Amount Sold

PMAC 1999-C1 Class E Sell 12/8/2000 92.50000 17,618,000.00
5. During the three years prior to the date of this Certificate, Plaintiff has sought to

serve or served as a representative party for a class in the following actions filed under the

federal securities laws: None

014149 0234 DALLAS 611781 v1
Case 3.02-0v-02212. Bocumen 4 Filed 12/13/02 on of 63 PagelD 100

6. The Plaintiff will not accept any payment for serving as a representative party on
behalf of the class beyond the Plaintiff's pro rata share of any recovery, except such reasonable
costs and expenses (including lost wages) directly relating to the representation of the class as
ordered or approved by the court.

I declare under penalty of perjury that the foregoing is true and correct. Executed this

thirteenth day of December, 2002. Yi

O CAPITAL MARKETS, L.L.C.

by Michael F. Wurst

Director, Distressed and Proprietary Assets,
Real Estate Group

014149.0234 DALLAS 611781 v1
